 Case 2:24-cv-04639-SPG-PVC        Document 48   Filed 11/18/24   Page 1 of 3 Page ID
                                        #:343

 1   GIBSON, DUNN & CRUTCHER LLP
     Debra Wong Yang SBN 123289
 2    DWongYang@gibsondunn.com
     Bradley J. Hamburger SBN 266916
 3    BHamburger@gibsondunn.com
     Summer A. Wall SBN 331303
 4    SWall@gibsondunn.com
     333 South Grand Avenue
 5   Los Angeles, CA 90071
     Tel: 213.229.7472
 6
 7   Kristin A. Linsley SBN 154148
      KLinsley@gibsondunn.com
 8   One Embarcadero Center, Suite 2600
     San Francisco, CA 94111
 9   Tel: 415.393.8395
10   Attorneys for Defendant
     SONY MUSIC ENTERTAINMENT
11
12                         UNITED STATES DISTRICT COURT
13                       CENTRAL DISTRICT OF CALIFORNIA
14
15   CHANAAZ MANGROE p/k/a Channii               CASE NO. 2:24-CV-04639-SPG-PVG
     Monroe,
16                                               DEFENDANT SONY MUSIC
                      Plaintiff,                 ENTERTAINMENT’S NOTICE OF
17                                               MOTION AND MOTION TO
          v.                                     DISMISS
18
19   TERIUS GESTEELDE-DIAMANT
     p/k/a “THE-DREAM”; CONTRA
20   PARIS, LLC; and SONY MUSIC                  Hearing:
     ENTERTAINMENT,                              Date: January 29, 2025
21                                               Time: 1:30 p.m.
                      Defendants.                Place: Courtroom 5C
22                                               Judge: Hon. Sherrilyn Peace Garnett
23
24
25
26
27
28

        DEFENDANT SONY MUSIC ENTERTAINMENT’S NOTICE OF MOTION AND MOTION TO DISMISS
                           PLAINTIFF’S FIRST AMENDED COMPLAINT
                                CASE NO. 2:24-CV-04639-SPG-PVG
 Case 2:24-cv-04639-SPG-PVC         Document 48     Filed 11/18/24   Page 2 of 3 Page ID
                                         #:344

 1   TO THE HONORABLE SHERILYN PEACE GARNETT, UNITED STATES
 2   DISTRICT JUDGE, AND TO ALL PARTIES AND THEIR COUNSEL OF REC-
 3   ORD:
 4           PLEASE TAKE NOTICE that, on January 29, 2025, at 1:30 PM, or as soon
 5   thereafter as may be heard by the Court, before the Honorable Sherilyn Peace Garnett,
 6   United States District Judge, in Courtroom 5C of the First Street Courthouse, 350 W.
 7   1st Street, Los Angeles, California 90012, Defendant Sony Music Entertainment
 8   (“SME”) will, and hereby does, move pursuant to Federal Rule of Civil Procedure
 9   12(b)(6) to dismiss Plaintiffs’ First Amended Complaint, Dkt. 32. This Court should
10   dismiss Plaintiff’s First Amended Complaint against Sony Music with prejudice because
11   Plaintiff fails to state a claim upon which relief can be granted that is plausible on its
12   face.
13           To establish both an entitlement to sue and beneficiary liability under the civil
14   federal sex trafficking statute, 18 U.S.C. § 1595, Plaintiff must first plausibly allege a
15   criminal sex trafficking violation under 18 U.S.C. § 1591(a)(1). Acevedo v. eXp Realty,
16   LLC, 713 F. Supp. 3d 740, 775-76 (C.D. Cal. 2024). Plaintiff fails to do so because she
17   does not plausibly allege that Terius Gesteelde-Diamant, professionally known as The-
18   Dream (“Dream”) caused her to engage in a commercial sex act or had the requisite
19   scienter at the time he allegedly enticed or recruited Plaintiff. See United States v. Todd,
20   627 F.3d 329, 334 (9th Cir. 2010).
21           Plaintiff’s amended complaint also fails to allege facts sufficient to establish the
22   other elements of a claim against SME under Section 1595. To survive a motion to
23   dismiss, Plaintiff must establish that SME: (1) knowingly benefitted, (2) from participa-
24   tion in a venture, (3) that it knew or should have known violated section 1591. Ratha v.
25   Phattana Seafood Co., 35 F.4th 1159, 1175 (9th Cir. 2022). Plaintiff fails to allege
26   adequate facts to support any of these required elements. She does not allege facts show-
27   ing the SME had actual or constructive knowledge that Plaintiff was caused to engage
28   in commercial sex—as opposed to abusive and harassing conduct, which is not
                                        1
         DEFENDANT SONY MUSIC ENTERTAINMENT’S NOTICE OF MOTION AND MOTION TO DISMISS
                            PLAINTIFF’S FIRST AMENDED COMPLAINT
                                 CASE NO. 2:24-CV-04639-SPG-PVG
 Case 2:24-cv-04639-SPG-PVC         Document 48       Filed 11/18/24   Page 3 of 3 Page ID
                                         #:345

 1   actionable under the statute—through force, fraud, or coercion. Plaintiff also fails to
 2   adequately allege that SME participated in a venture with Dream by means of a direct
 3   or continuous business relationship. Finally, Plaintiff does not allege facts showing that
 4   SME knowingly benefitted, either through financial or other tangible gain, from its pro-
 5   fessional relationship with Dream or Plaintiff. This Motion is based on this Notice of
 6   Motion and Motion to Dismiss; the accompanying Memorandum of Points and Author-
 7   ities; all pleadings, records, and files in this action; all matters of which judicial notice
 8   may or shall be taken; and any other oral or written evidence or argument that the Court
 9   may consider.
10         This Motion is made following conference between counsel for Plaintiffs and De-
11   fendants, pursuant to Central District Local Rule 7-3, which took place on November
12   11, 2024. The parties thoroughly discussed the substance and potential resolution of the
13   filed motion by videoconference. During this conference, Plaintiff’s counsel confirmed
14   that Plaintiff does not assert that SME violated section 1591(a)(2).
15
16   Dated: November 18, 2024                GIBSON, DUNN & CRUTCHER LLP
17
18                                           By: /s/ Kristin A. Linsley
19                                              Kristin A. Linsley

20                                           Attorney for Defendant
                                             Sony Music Entertainment
21
22
23
24
25
26
27
28
                                                  2
         DEFENDANT SONY MUSIC ENTERTAINMENT’S NOTICE OF MOTION AND MOTION TO DISMISS
                            PLAINTIFF’S FIRST AMENDED COMPLAINT
                                 CASE NO. 2:24-CV-04639-SPG-PVG
